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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


JONATHAN JONES,

                              Plaintiff,          CIVIL ACTION NO.

                   v.                             DEMAND FOR JURY TRIAL

JOHNSON & JOHNSON CONSUMER,
INC.,

                              Defendant.




                               CIVIL ACTION COMPLAINT

       Plaintiff, Jonathan Jones (hereinafter “Plaintiff” or “Mr. Jones”), by and through his

counsel, brings this civil action against the Defendant, Johnson & Johnson Consumer, Inc.

(hereinafter “Defendant” or “J & J”), seeking all available remedies under Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. §2000e, et seq. (“Title VII”), Section 1981 of the Civil

Rights Act of 1866 (“Section 1981” – 42 U.S.C. § 1981), § 5(a) and (d) of the Pennsylvania Human

Relations Act, 43 P. S. § § 951-963 (“PHRA”), and Philadelphia’s Fair Practices Ordinance
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(“PFPO”), Section 9-1101 et seq.1 Specifically, Plaintiff seeks all damages, including economic

loss, compensatory damages, punitive damages, attorneys’ fees and costs, and all other relief this

Court deem appropriate.

                                            PARTIES

        1.      Plaintiff, Jonathan Jones, is an African American male individual, residing in

Landsdale, PA. Plaintiff worked for Defendant as a Warehouse Associate.

        2.      Defendant maintains a place of business at 7050 Camp Hill Rd., Fort Washington,

PA 19034.

        3.      Defendant is a member of Johnson & Johnson’s Family Companies.

        4.      Defendant is one of the world’s largest consumer health and personal care products

company.

        5.      At all relevant times, Defendant was an “employer” for purposes of Title VII,

PHRA, and Philadelphia’s Fair Practices Ordinance.

        6.      At all times relevant hereto, Plaintiff was employed by the Defendant.

        7.      At all times relevant hereto, Defendant acted by and through its agents, servants,

and employees, each of which acted within the scope of his or his job responsibilities.

                                JURISDICTION AND VENUE

        8.      The foregoing paragraphs are incorporated by reference herein as if the same were

set forth at length.




1
  Plaintiff’s claims under the PHRA and PFPO are referenced herein for notice purposes. Mr. Jones
is required to wait one year before initiating a lawsuit from date of dual filing an administrative
complaint with the Equal Employment Opportunities Commission. Plaintiff must however file his
lawsuit in advance of same because of the date of issuance of his federal right-to-sue-letter under
Title VII. Plaintiff’s PHRA and PFPO claims however will mirror identically his federal claims
under Title VII.
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        9.      This Court has original subject matter jurisdiction over Mr. Jones’ federal claims

pursuant 28 U.S.C. § 1331 and 1343(a)(4).

        10.     Mr. Jones’ PHRA and FPO claims are so closely related to the Title VII claim that

it forms part of the same case or controversy under Article III of the United States Constitution.

        11.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because the Defendant

resides in this District, and under 28 U.S.C. § 1391(b)(2) because a substantial part of the events

and omissions giving rise to the claims alleged herein occurred in this District.

        12.     This Court has personal jurisdiction over this matter because the Defendant is

located in this District, conducts substantial business activity in this District, and because many of

the unlawful acts described herein occurred in this District and gave rise to the claims alleged.

                       EXHAUSTION OF ADMINSTRATIVE REMEDIES

         13.    The foregoing paragraphs are incorporated by reference herein as if the same were

set forth at length.

        14.     Plaintiff has fully exhausted his administrative remedies under Title VII.

        15.     Plaintiff dual filed an administrative Charge of Discrimination with the Equal

Employment Opportunity Commission (hereinafter “EEOC”), the Pennsylvania Human Relations

Commission (hereinafter “PHRC”), and the Philadelphia Commission on Human Relations

(“PCHR”). The EEOC assigned the Charge of Discrimination No. 530-2020-05014, a true and

correct copy of which is attached hereto as Exhibit "A," complaining of race and retaliation

discrimination as set forth herein.

        16.     On or about May 28, 2021, the EEOC issued to Plaintiff a notice of right to sue, a

true and correct copy of which is attached hereto as Exhibit "B."




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        17.     Plaintiff files this Complaint within ninety (90) days of receipt of the notice of right

to sue letter relative to Charge No. 530-2020-05014.

        18.     Accordingly, Plaintiff has fully complied with all Title VII administrative

prerequisites for the commencement of this action.

        19.     Plaintiff shall move to amend this Complaint to add his claims under the PHRA

and PFPO after administratively exhausting their prerequisites. Plaintiff’s PHRA and PFPO claims

however will mirror identically his federal claims.

                                    STATEMENT OF FACTS

        20.     The foregoing paragraphs are incorporated by reference herein as if the same were

set forth at length.

        21.     On or about May 2017, Mr. Jones began his employment with the Defendant at a

Warehouse Associate II at its Fort Washington, PA facility.

        22.     Mr. Jones has worked in warehouse and shipping & handling almost his entire

working life.

        23.     Mr. Jones takes great pride in is work ethic. In fact, during his employment with

the Defendant his would set written weekly goals for himself.

        24.     During his employment with the Defendant, Mr. Jones performed his job duties in

a satisfactory manner.

        25.     Review of his performance evaluations reveals that the full year Mr. Jones was

employed by Defendant, he received a “fully meets” expectation rating, followed by a “partially

meets” expectation rating due to his use of overtime which was approved by his direct supervisor.

        26.     Mr. Jones reported directly to Marquiz Vazquez, a Latino male and first-time

supervisor.



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       27.     For almost three years, Mr. Jones worked at Johnson & Johnson without incident.

This all changed after his co-worker – Emanuel Rodriguez – was promoted to the Warehouse

Associate III position.

       28.     Mr. Rodriguez is a Latino male who previously worked with Mr. Vasquez at

another job. Mr. Rodriguez is less experienced in warehouse work than Mr. Jones but has been

with Defendant longer than Mr. Jones.

       29.     After, it became public knowledge that Mr. Rodriguez was promoted to the

Warehouse Associate III position, Mr. Jones asked his supervisor in private what he could do to

ensure that he would be promoted when the next opportunity arose. During that discussion, Mr.

Jones also asked why Mr. Vasquez recommended Mr. Rodriguez for promotion over him when it

was well known that Mr. Rodriguez struggles with interpersonal relationships with co-workers,

does the bare minimum at work, and never volunteers for overtime when needed (Mr. Rodriguez

would turn down assignments because he preferred to work through various ridesharing apps).

       30.     In response, Mr. Vasquez stated that Mr. Jones was not promoted at that time

because he “used too much overtime.” Overtime that Mr. Vasquez approved. The conversation

ended by Mr. Vasquez telling Mr. Jones that he was on track to be promoted next year. Mr. Jones

left that meeting feeling hopeful and understood what he needed to do to be promoted.

       31.     Later that same day, Mr. Jones needed to speak with Mr. Rodriguez about a work-

related question. As Mr. Jones approached Mr. Rodriguez, Mr. Rodriguez immediately launched

into a tirade of profanities directed at Mr. Jones. Mr. Jones walked away to deescalate the situation.

       32.     It was commonly known in the warehouse that Mr. Rodriguez frequently engaged

in actions that violated Defendant’s policies and rose to the level of unlawful discrimination.




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         33.     After the situation had deescalated, Mr. Jones informed Mr. Vasquez what

transpired. Instead of disciplining Mr. Rodriguez for violating multiple Defendant’s policies, Mr.

Vasquez told Mr. Jones to give Mr. Rodriguez “some space” because he “overheard our earlier

conversation.”

         34.     Mr. Jones complied with Mr. Vasquez’s direction and finished the workday without

incident.

         35.     Upon reporting to work the next day, Mr. Jones said hello to Mr. Rodriguez, in

response Mr. Rodriguez stated, “good morning my ass.” Mr. Rodriguez then again launched into

a tirade of profanities and physically threatened Mr. Jones.

         36.     During his tirade, Mr. Rodriguez called Mr. Jones a “fucking monkey.”

         37.     Again, Mr. Jones did not engage and deescalated the situation by leaving the area.

Mr. Jones immediately reported the incident to Mr. Vasquez who accompanied him back to the

work area.

         38.     Once they arrived in the work area, Mr. Rodriguez made a monkey gesture, placed

his hands under his arms and stated that Mr. Jones was “nothing but a big monkey.” Mr. Vasquez

had to physically remove Mr. Rodriquez from the work area.

         39.     Mr. Jones was badly shaken by the incident of severe racial discrimination and

attempted physical violence in the workplace.

         40.     Mr. Jones immediately called Scott Miller who told Mr. Jones to wait for him in

the break room. On the way to the break room, Mr. Jones informed another supervisor, Danee

Howard, about the physical threats of violence and racial slurs. Following Mr. Miller’s arrival, Mr.

Jones again recounted the incident informing him of the physical threats of violence and racial

slurs.



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       41.     After Mr. Jones met with Mr. Miller, he left the workplace because he was so

shaken by the incident.

       42.     When Mr. Jones returned home, he also reported the incident to Johnson &

Johnson’s Creddo Hotline.

       43.     Following the conversation, Mr. Jones received an email confirming that his

complaint was received, would be investigated and the results reported back to him.

       44.     On July 22, 2020, Mr. Jones called Mr. Miller and stated that he would like to return

to the workplace. Mr. Jones needed to keep working as he just recently purchased a house for his

family. In response, Mr. Miller stated that he should just stay home and enjoy his time with his

family, that the complaint had been escalated to employee relations and that an investigator would

reach out to him soon.

       45.     On July 23, 2020, Mr. Miller called Mr. Jones and informed him that the

investigator would interview him on July 24, 2020.

       46.     On July 24, 2020, Mr. Jones was interviewed concerning the two incidents. During

that conversation, Mr. Jones again recounted Mr. Rodriguez’s racial slurs and physical threats of

violence. During that same conversation, the investigator asked Mr. Jones if he made a sexual

comment on July 20, 2020 about Mr. Rodriguez.

       47.     Mr. Jones vehemently denied making such a comment because it did not happen.

       48.     Moreover, as described above, it is well known that Mr. Rodriguez frequently

engages in sexual banter in the workplace.

       49.     Following the conversation, Mr. Jones texted Mr. Miller alerting him to the fact

that he had been interviewed.




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       50.     On July 27, Mr. Miller texted Mr. Jones and stated that he would not receive another

update until July 29, 2020. On July 29, 2020, Mr. Miller again texted Mr. Jones and stated there

was no update but he hoped there would be one on July 30, 2020.

       51.     On July 30, 2020, no update was given and Mr. Jones, eager to get back to work,

texted Mr. Miller to see if he should report to work the next day. Mr. Miller did not respond to his

text or return his phone call.

       52.     On July 31, 2020, Mr. Miller and Julieann Sommer of HR called Mr. Jones at 9:30

a.m. Incredulously, Mr. Miller informed Mr. Jones he was being terminated for allegedly making

a sexual comment to Mr. Rodriguez on July 20, 2020.

       53.     Mr. Jones’ termination was in retaliation for opposing unlawful race discrimination.

       54.     Neither Mr. Miller or Ms. Sommer addressed Mr. Jones’ complaints of race

discrimination and the threatened physical violence. At no time, did anyone at J & J ever apologize

or address the substance of his complaints.

       55.     Mr. Jones would not have been terminated from his position if he had not filed an

internal complaint pursuant to Defendant’s policies and procedures. If he had ignored the racial

slurs and physical threats of violence, he would still be working today.

       56.     Moreover, had the Defendant actually enforced its policies against unlawful

discrimination in the workplace and not allowed Mr. Rodriguez to continue in discriminatory

behavior prior to the incident, the incident would have never occurred.




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                                     CAUSES OF ACTION

                                 FIRST CLAIM FOR RELIEF
                                Defendant’s Violation of Title VII
                                    42 U.S.C.S. § 2000e-(a)(1)
                                Different Treatment/Termination

          57.   Mr. Jones incorporates the preceding paragraphs and sets forth more fully at length

herein.

          58.   Mr. Jones is an African American male individual within the meaning of Title VII.

          59.   Mr. Jones, as described more fully below, was subjected to racial slurs and threats

of physical violence because of his race, African American.

          60.   Mr. Jones’ disparate treatment led to his termination because of his race.

          61.   No legitimate, non-discriminatory reason exists for Mr. Jones’ termination.

          62.   Mr. Jones was terminated from his employment in violation of Title VII.

          63.   Defendant acted with malice or a reckless indifference to Mr. Jones’ rights, thereby

warranting the imposition of punitive damages.

      WHEREFORE, Mr. Jones seeks the damages sets forth in the Prayer for Relief of this
Complaint.

                                SECOND CLAIM FOR RELIEF
                                Defendant’s Violation of Title VII
                                     42 U.S.C. § 2000e-3(a)
                                          Retaliation

            64. Mr. Jones incorporates the preceding paragraphs and sets forth more fully at length

herein.

            65. Mr. Jones engaged in protected activity.

            66. Specifically, he opposed race discrimination in the workplace.




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           67. There is a causal connection between Mr. Jones’ opposition to unlawful race

discrimination and his termination.

           68. No legitimate, non-discriminatory reason exists for Mr. Jones’ termination.

           69. Mr. Jones was terminated from his employment in retaliation for opposing unlawful

race discrimination in violation of Title VII.

           70. Defendant acted with malice or a reckless indifference to Mr. Jones’ rights, thereby

warranting the imposition of punitive damages.

    WHEREFORE, Mr. Jones seeks the damages sets forth in the Prayer for Relief of this

Complaint.

                               THIRD CLAIM FOR RELIEF
                           Defendant’s Violation of 42 U.S.C. § 1981
                                    Race and Retaliation

             71. Mr. Jones incorporates the preceding paragraphs and sets forth more fully at

length herein.

             72. During Mr. Jones’ employment with Defendant, he was subjected to

discrimination through verbal reprimands and derogatory and disparate treatment because of his

race and/or his objections to/complaints of race discrimination by his direct supervisor.

             73. Instead of remedying the race discrimination, Defendant’s upper management

allowed the race discrimination to continue unchecked.

             74. Following his complaints of race discrimination (discussed supra), Mr. Jones was

abruptly terminated on or about July 31, 2020.

             75. Plaintiff believes, and therefore avers, that he was terminated because of his race

and his objections to/complaints about race discrimination.




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              76. These actions as aforesaid constitute unlawful discrimination and retaliation

under Section 1981.

       WHEREFORE, Mr. Jones seeks the damages sets forth in the Prayer for Relief of this

Complaint.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Jonathan Jones, prays for relief as follows:

        (a)     Defendant is to promulgate and adhere to a policy prohibiting discrimination and
                retaliation in the future against any employee(s);

        (b)     Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
                whole for any and all pay, and benefits Plaintiff would have received had it not
                been for Defendant’s illegal action, including but not limited to back pay, front pay,
                salary, pay increases, bonuses, insurance, benefits, training, promotions,
                reinstatement and seniority;

        (c)     Compensatory damages;

        (d)     Punitive damages under Title VII;

        (e)     Liquidated damages;

        (f)     Emotional pain and suffering;

        (g)     A permanent injunction enjoining Defendant, its directors, officers, employees,
                agents, successors, heirs and assigns, and all persons in active concert or
                participation with them, from engaging in, ratifying, or refusing to correct,
                employment practices which violate Title VII, PHRA and Philadelphia’s Fair
                Practice Ordinance;

        (h)     An award of costs incurred herein, including reasonable attorneys’ fees to the extent
                allowable by law;

        (i)     Pre-judgment and post-judgment interest, as provided by law; and

        (j)     Such other and further legal and equitable relief as this Court deems necessary, just
                and proper.




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                                       JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Mr. Jones demands a trial by jury in

this action.

                                          Respectfully submitted,




                                          By:

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Dated: August 23, 2021




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